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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                              CRIMINAL NO. 20-055

VERSUS                                                SECTION “F”
                                                      JUDGE MARTIN L.C. FELDMAN
JASON R. WILLIAMS
NICOLE E. BURDETT                                     MAGISTRATE (4)
                                                      MAGISTRATE JUDGE ROBY

       DEFENDANTS JASON R. WILLIAMS AND NICOLE E. BURDETT’S
  UNOPPOSED, EX PARTE MOTION AND INCORPORATED MEMORANDUM FOR
          AUTHORIZATION TO SERVE SUBPOENA PURSUANT TO
             FEDERAL RULE OF CRIMINAL PROCEDURE 17(c)

         NOW INTO COURT, come Jason R. Williams and Nicole E. Burdett, through

undersigned counsel, who respectfully request that the Court permit them to serve the attached

subpoena in anticipation of the September 14, 2020 trial in this matter. Councilman Williams

and Ms. Burdett request that the Court permit the service of these subpoenas with a return date of

August 18, 2020, with the return to be made to counsel, so that they can review the document in

preparation for pre-trial motions and trial.

         The Government has been contacted and does not object to the defendants’ request.

         In support of this motion, Councilman Williams and Ms. Burdett state as follows:

    1. Councilman Williams and Ms. Burdett relied upon their tax preparer, Henry
       Timothy, who falsely held himself out to be a CPA and falsely claimed to have
       earned an MBA.

         Councilman Williams and Ms. Burdett have been charged with conspiring to commit tax

fraud and assisting in the preparation of false tax returns. Councilman Williams and Ms. Burdett

relied upon the advice of their tax preparer, Henry Timothy, who held himself out as a Certified

Public Accountant (“CPA”). Believing Timothy to be the CPA he claimed to be, Councilman

Williams and Ms. Burdett provided complete books and records for the law firm Jason R.




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Williams and Associates to Timothy, and Timothy identified and classified the business

expenses on the Schedule Cs that form the basis of the Government’s indictment. Timothy also

failed to advise Councilman Williams and Ms. Burdett of any obligation to file a Form 8300 for

any of the cash payments by clients that were documented in the law firm’s records.

         During the course of the Government’s tax investigation, defendants learned that

Timothy was not, in fact, a CPA as he had claimed to be verbally and in writing to them. See

Exh. “A,” Invoices. Mr. Williams and Ms. Burdett filed suit against Timothy in the Civil

District Court for the Parish of Orleans for fraud and accounting malpractice, and sought and

obtained injunctive relief in the form of the preliminary injunction that is attached as Exhibit

“B,” which bars Timothy from representing himself as a CPA.

         Discovery produced by the Government revealed that Timothy falsely represented

himself to be a CPA to multiple other clients. See Exh. “C,” Timothy Invoice 10/28/13 and Exh.

“D,” Timothy Invoices 2013 – 2017.

         Timothy also falsely represented to Councilman Williams and Ms. Burdett that he

received a Master’s in Business Administration (“MBA”) from the University of New Orleans,

and included that degree on his LinkedIn profile. See Exh. “E,” LinkedIn Profile. Timothy’s

claim to have an MBA is also a lie. The registrar for the University of New Orleans confirmed

that Timothy was admitted to graduate school, but “no degree [was] awarded.” See Exh. F,

UNO Registrar Email (emphasis added).

    2. Councilman Williams and Ms. Burdett request issuance of subpoenas duces tecum
       to the Louisiana Society of Certified Public Accountants and UNO for documentary
       evidence of Timothy’s fraud.

         Councilman Williams and Ms. Burdett seek subpoenas duces tecum to the Society of

Louisiana Certified Public Accountants and UNO to use at trial and in pretrial motions.

Specifically, defendants request issuance of a subpoena to the Society of Louisiana Certified


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Public Accountants to provide any records that they may have concerning Timothy, including

whether Timothy was ever certified as a Public Accountant or ever took the CPA exam.

Defendants request issuance of a subpoena UNO for all student records relating to Timothy,

including his official transcript, student record, and grades. (UNO was able to confirm dates of

attendance and degrees awarded, but will not provide additional records without a subpoena.)

         To obtain a subpoena before trial, “the moving party must show: (1) that the documents

are evidentiary and relevant; (2) that they are not otherwise procurable reasonably in advance of

trial by exercise of due diligence; (3) that the party cannot properly prepare for trial without such

production and inspection in advance of trial and that the failure to obtain such inspection may

tend unreasonably to delay the trial; and (4) that the application is made in good faith and is not

intended as a general ‘fishing expedition.’” United States v. Nixon, 418 U.S. 683, 700 (1974),

See also United States v. Arditti, 955 F.2d 331, 345 (5th Cir.1992) (a subpoena is warranted

when the defendant can show that the evidence sought is relevant, admissible, and has been

requested with sufficient specificity).

         Defendants’ requests are for documents that are evidentiary and relevant, cannot be

procured without issuance of a subpoena, and are needed for trial.             The information the

defendants have discovered thus far—some of which was incredibly known to the government

before it decided to indict this case—makes clear that this request is not a fishing expedition, but

rather seeks evidence that will be crucial to exonerate the defendants at trial.

         Accordingly, Councilman Williams and Ms. Burdett respectfully request that the Court

allow them to issue the attached subpoenas with a return date of August 18, 2020, so that they

may review the records in advance of trial and to prepare for pre-trial litigation. Councilman

Williams and Ms. Burdett further request that the Court order the production to be made to




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Councilman Williams’ counsel, who will provide copies to all parties.

                                            Respectfully submitted,

                                            /s/ William P. Gibbens
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                                            Attorneys for Nicole E. Burdett

                               CERTIFICATE OF SERVICE

       I certify that on August 11, 2020, I electronically filed the foregoing pleading with the
Clerk of Court using the CM/ECF System, which will send a copy of the pleading to all parties
via email.

                                            /s/ Michael W. Magner




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